      Case 2:22-cv-00423-AMM Document 75 Filed 12/21/22 Page 1 of 14            FILED
                                                                       2022 Dec-21 PM 05:15
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

                                         Filed in Civil Action Nos.:

BRITTANY COLEMAN, et al.,                2:22-cv-423-AMM (Coleman)
                       Plaintiffs,       (putative class action)
               v.
THE TOWN OF BROOKSIDE,
ALABAMA, et al.,
                       Defendants.
------------------------------

COREY THOMAS, et al.,                    2:22-cv-157-AMM (Thomas)
                       Plaintiffs,       (putative class action)
               v.
THE TOWN OF BROOKSIDE,
ALABAMA, et al.,
                       Defendants.
------------------------------

SEAN WATTSON, et al.,                    2:21-cv-649-AMM (Wattson)
                       Plaintiffs,       (putative class action)
               v.
THE TOWN OF BROOKSIDE,
ALABAMA,
                       Defendant.
------------------------------

SANDRA HARRIS,                           2:21-cv-1341-AMM (Harris)
             Plaintiff,                  (individual action)
        v.
THE TOWN OF BROOKSIDE,
ALABAMA and MICHAEL JONES,
             Defendants.


               JOINT STATUS REPORT REGARDING
        ALL PARTIES’ VIEWS ON CONSOLIDATION OF CASES

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      On December 7, the Court ordered all parties in the four above-captioned

cases “to meet and confer and submit a joint status report stating their views

regarding consolidation of all four above-named cases within fourteen days.”

      The Court also scheduled a status conference regarding the same on January

5 at 9:00 a.m., in Courtroom 5B, Hugo L. Black U.S. Courthouse, Birmingham, AL.

      Pursuant to that order, counsel for all parties met and conferred on December

14. We submit this joint status report, stating the views of each party in each case

regarding consolidation of the four cases—which all parties currently oppose.

                                        ***

      As the Court is aware:

      (1) three of the cases (Coleman, Thomas, and Wattson) are putative class

actions, while one (Harris) is an individual action;

      (2) the plaintiffs in the four cases are represented by different counsel, except

for unity of representation between the plaintiffs in Thomas and Wattson (and one

overlapping lawyer in Coleman and Harris);

      (3) the plaintiffs in Thomas and Wattson have moved for consolidation of

those two cases, and that opposed motion is fully briefed and pending;

      (4) distinct motions to dismiss are fully briefed and pending in all four

separate cases (though Harris, the individual case, is currently stayed);

      (5) discovery is currently stayed in all four cases.



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         As detailed below in each party’s statement (which we note are sometimes

redundant, for ease of reference by case), no party in any of the cases believes

consolidation is warranted (at least for now), with the exception of the Thomas and

Wattson plaintiffs’ motion to consolidate those cases (which the defendants in those

cases oppose, and on which the Coleman and Harris plaintiffs take no position).

             Statements of position on consolidation (by case and party):

         1. Coleman et al. v. Brookside et al., 2:22-cv-423 (putative class action)

             Parties                          Positions on consolidation
    Plaintiffs                   The Coleman plaintiffs currently oppose consolidation.
                                 As detailed in our motion for reassignment, we believe
                              that a single judge is best positioned to resolve the three
                              putative class actions consistently and efficiently. See
                              Thomas Doc. 72 at 8–12.
                                 However, at least at this stage, formal consolidation is
                              unwarranted. Motions to dismiss are pending in all four
                              cases. So—while the class actions here have “potential
                              overlaps,” Thomas Doc. 72 at 10—neither the parties nor
                              the Court know what claims, defenses, issues, or
                              defendants will remain in the various cases until the
                              motions to dismiss are resolved. In such circumstances,
                              courts “conclude[] that consolidation is premature.”
                              Wright & Miller, Fed. Prac. & Proc. § 2383 at 20 &
                              n.15.50 (2022 Supp.) (collecting cases).
                                 Similarly, we do not know which claims or issues will
                              be class-certified in any of the three class actions.
                              Moreover, because discovery is stayed, consolidation
                              would realize no immediate cost or efficiency benefits.1


1
  We note that in October, Judge Proctor held that the sole non-class claim in Coleman could
proceed against the three Brookside police officers named in that case. See Coleman Doc. 67. We
have discussed beginning discovery on that claim with those officers’ counsel and anticipate filing
a joint motion on that matter in the coming weeks.

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                          In short: At this stage, neither the parties nor the Court
                      can predict what matters or issues, if any, would benefit
                      from consolidation. So the Coleman plaintiffs respectfully
                      submit that consolidation is inappropriate. Of course,
                      when discovery opens, we will endeavor to coordinate
                      with other parties and the Court to avoid undue burdens.
Brookside                 The Town opposes consolidation of the four cases filed
                      against it that are currently pending before Judge
                      Manasco. Should discovery commence in any of them,
                      though, the Town would be interested in obtaining a
                      working agreement to consolidate discovery among all
                      four in the most efficient and practical manner possible.
Jett’s Towing LLC         Jett’s Towing LLC (Jett’s) opposes consolidation of
                      the Coleman case and the Thomas case (the two cases
                      Jett’s is a party). Jett’s would also oppose consolidation of
                      the other two cases, which Jett’s is not a party, with
                      Coleman and/or Thomas. Jett’s would be willing to work
                      with opposing counsel and the Court to consolidate
                      discovery in Coleman and Thomas to promote efficiency
                      and avoid unnecessary burdens.
Individual Defendants     The individual defendants, separately and severally,
                      assert that possible consolidation of these cases presents
                      an unquantifiable mixture of potential benefits,
                      detriments, probable undue prejudice and unfair
                      advantage to the plaintiffs.
                          The individual defendants also assert that:
                          1. each of them do not concede that “consolidation”
                      equates to an acquiescence by them that these individual
                      cases are otherwise appropriate to be certified as a “class
                      action,” and that potential consolidation of cases presents
                      an unwarranted prejudice to each individual defendant that
                      the claims may otherwise de facto be treated as such, based
                      on the elements below.
                          2. each discrete plaintiff in a potential consolidation of
                      cases otherwise experienced unique individual
                      interactions with a variable number and mixture of
                      Brookside Police Officers for different infractions, while
                      driving different vehicles at different times of different
                      days, with individualized claims and allegations for
                      various constitutional infringements, for which the

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                individual defendants will have offsetting unique
                individual defenses based on the circumstances in issue,
                the management of which in a consolidation of cases
                presents an unknown array of otherwise predictable
                prejudices, problems and other unnecessary obstacles to a
                fair and full defense by the individual defendants to each
                discrete plaintiff’s claims.
                    3. those defenses include, among others, raising the
                affirmative defenses of qualified immunity, State Agent
                Immunity and Peace Officer Immunity under State law
                whenever appropriate, and further present the probability
                that denial of any one individual defendant’s motion for
                invoking any of these defenses presents the distinct
                possibility that an immediate interlocutory appeal might
                be taken, which would thereby effect a stay of all
                proceedings pending an appellate ruling, which stay would
                further delay a consolidated action for an indeterminate
                amount of time while the appeal is pending.
                    4. the individual defendants also recognize the
                potential benefits of a consolidation of cases if there is a
                single cohesive discovery plan and process whereby the
                individual defendants only have to respond to one agreed-
                upon series of discovery requests and be required to sit for
                only one agreed-upon deposition. Should such a cohesive
                discovery plan be approved by the Court, execution of
                same would result in a wealth of savings of time, effort,
                costs and expense to all the parties.
                    5. the individual defendants also recognize the
                potential benefit of a consolidation of cases should the
                Court order the consolidated matter to a Mediation or other
                Alternative Dispute Resolution procedure as permitted
                under this District’s ADR Plan.
                    6. the individual defendants also recognize a
                consolidation of cases may likewise limit potential
                exposure to multiple claims of attorney fee awards under
                42 USC § 1988, should a jury render a verdict in favor of
                plaintiffs.
                    7. the individual defendants also reserve the right to
                amend and supplement this position on consolidation.


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     2. Thomas et al. v. Brookside et al., 2:22-cv-157 (putative class action)

         Parties                        Positions on consolidation
Plaintiffs                Plaintiffs in Thomas have requested that the case be
                      consolidated with Wattson. Plaintiffs have filed a Motion,
                      Doc. 29, requesting that consolidation, and stating the
                      valid reasons therefore, and take the position that those
                      two cases, having the same counsel and overlap amongst
                      the defendants, are due to be consolidated per the
                      Proposed Consolidated Complaint attached to the Motion.
                      Plaintiffs do not propose consolidation of the remaining
                      cases. As the first filed actions, pursuant to Manuel v.
                      Convergys Corp., 430 F.3d 1132, 1135 (11th Cir. 2005),
                      Plaintiffs propose that they proceed with discovery to
                      certification. To the extent that later filed actions proceed
                      concurrently, Plaintiffs propose that discovery be
                      coordinated to avoid duplication of efforts and to promote
                      efficiency.
Brookside                 The Town opposes consolidation of the four cases filed
                      against it that are currently pending before Judge
                      Manasco. Should discovery commence in any of them,
                      though, the Town would be interested in obtaining a
                      working agreement to consolidate discovery among all
                      four in the most efficient and practical manner possible.
Jett’s Towing LLC         Jett’s Towing LLC (Jett’s) opposes consolidation of
                      the Coleman case and the Thomas case (the two cases
                      Jett’s is a party). Jett’s would also oppose consolidation of
                      the other two cases, which Jett’s is not a party, with
                      Coleman and/or Thomas. Jett’s would be willing to work
                      with opposing counsel and the Court to consolidate
                      discovery in Coleman and Thomas to promote efficiency
                      and avoid unnecessary burdens
Individual Defendants     The individual defendants, separately and severally,
(except P. Howle)     assert that possible consolidation of these cases presents
                      an unquantifiable mixture of potential benefits,
                      detriments, probable undue prejudice and unfair
                      advantage to the plaintiffs.
                          The individual defendants also assert that:
                          1. each of them do not concede that “consolidation”
                      equates to an acquiescence by them that these individual

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                cases are otherwise appropriate to be certified as a “class
                action,” and that potential consolidation of cases presents
                an unwarranted prejudice to each individual defendant that
                the claims may otherwise de facto be treated as such, based
                on the elements below.
                    2. each discrete plaintiff in a potential consolidation of
                cases otherwise experienced unique individual
                interactions with a variable number and mixture of
                Brookside Police Officers for different infractions, while
                driving different vehicles at different times of different
                days, with individualized claims and allegations for
                various constitutional infringements, for which the
                individual defendants will have offsetting unique
                individual defenses based on the circumstances in issue,
                the management of which in a consolidation of cases
                presents an unknown array of otherwise predictable
                prejudices, problems and other unnecessary obstacles to a
                fair and full defense by the individual defendants to each
                discrete plaintiff’s claims.
                    3. those defenses include, among others, raising the
                affirmative defenses of qualified immunity, State Agent
                Immunity and Peace Officer Immunity under State law
                whenever appropriate, and further present the probability
                that denial of any one individual defendant’s motion for
                invoking any of these defenses presents the distinct
                possibility that an immediate interlocutory appeal might
                be taken, which would thereby effect a stay of all
                proceedings pending an appellate ruling, which stay would
                further delay a consolidated action for an indeterminate
                amount of time while the appeal is pending.
                    4. the individual defendants also recognize the
                potential benefits of a consolidation of cases if there is a
                single cohesive discovery plan and process whereby the
                individual defendants only have to respond to one agreed-
                upon series of discovery requests and be required to sit for
                only one agreed-upon deposition. Should such a cohesive
                discovery plan be approved by the Court, execution of
                same would result in a wealth of savings of time, effort,
                costs and expense to all the parties.


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                        5. the individual defendants also recognize the
                     potential benefit of a consolidation of cases should the
                     Court order the consolidated matter to a Mediation or other
                     Alternative Dispute Resolution procedure as permitted
                     under this District’s ADR Plan.
                        6. the individual defendants also recognize a
                     consolidation of cases may likewise limit potential
                     exposure to multiple claims of attorney fee awards under
                     42 USC § 1988, should a jury render a verdict in favor of
                     plaintiffs.
                        7. the individual defendants also reserve the right to
                     amend and supplement this position on consolidation.
Individual Defendant    Patrick Howle shares the same concerns voiced by
P. Howle             other individual defendants. However, he was not
                     employed as a law enforcement officer at Brookside
                     within the relevant statute of limitations period and
                     anticipates being dismissed from the case—voluntarily by
                     the Plaintiffs or on statute of limitations grounds through
                     a Motion for Summary Judgment.

     3. Wattson et al. v. Brookside, 2:21-cv-649 (putative class action)

         Parties                        Positions on consolidation
Plaintiffs                 Plaintiffs in Wattson have requested that the case be
                       consolidated with Thomas. Plaintiffs have filed a Motion,
                       Doc. 29, requesting that consolidation, and stating the
                       valid reasons therefore, and take the position that those
                       two cases, having the same counsel and overlap amongst
                       the defendants, are due to be consolidated per the
                       Proposed Consolidated Complaint attached to the Motion.
                       Plaintiffs do not propose consolidation of the remaining
                       cases. As the first filed actions, pursuant to Manuel v.
                       Convergys Corp., 430 F.3d 1132, 1135 (11th Cir. 2005),
                       Plaintiffs propose that they proceed with discovery to
                       certification. To the extent that later filed actions proceed
                       concurrently, Plaintiffs propose that discovery be
                       coordinated to avoid duplication of efforts and to promote
                       efficiency.
Brookside                  The Town opposes consolidation of the four cases filed
                       against it that are currently pending before Judge

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                        Manasco. Should discovery commence in any of them,
                        though, the Town would be interested in obtaining a
                        working agreement to consolidate discovery among all
                        four in the most efficient and practical manner possible.

     4. Harris v. Brookside et al., 2:21-cv-1341 (individual action)

         Parties                     Positions on consolidation
Plaintiff                For reasons similar to those stated by the Coleman
                     plaintiffs, the Harris plaintiff opposes consolidation.
                     Consolidation of Harris with any of the other cases is
                     particularly unwarranted because Harris is an individual,
                     non-class action that may be prejudiced by the additional
                     procedures inherent in class action litigation.
Brookside                The Town opposes consolidation of the four cases filed
                     against it that are currently pending before Judge
                     Manasco. Should discovery commence in any of them,
                     though, the Town would be interested in obtaining a
                     working agreement to consolidate discovery among all
                     four in the most efficient and practical manner possible.
Individual Defendant     The individual defendants, separately and severally,
M. Jones             assert that possible consolidation of these cases presents
                     an unquantifiable mixture of potential benefits,
                     detriments, probable undue prejudice and unfair
                     advantage to the plaintiffs.
                         The individual defendants also assert that:
                         1. each of them do not concede that “consolidation”
                     equates to an acquiescence by them that these individual
                     cases are otherwise appropriate to be certified as a “class
                     action,” and that potential consolidation of cases presents
                     an unwarranted prejudice to each individual defendant that
                     the claims may otherwise de facto be treated as such, based
                     on the elements below.
                         2. each discrete plaintiff in a potential consolidation of
                     cases otherwise experienced unique individual
                     interactions with a variable number and mixture of
                     Brookside Police Officers for different infractions, while
                     driving different vehicles at different times of different
                     days, with individualized claims and allegations for
                     various constitutional infringements, for which the

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                individual defendants will have offsetting unique
                individual defenses based on the circumstances in issue,
                the management of which in a consolidation of cases
                presents an unknown array of otherwise predictable
                prejudices, problems and other unnecessary obstacles to a
                fair and full defense by the individual defendants to each
                discrete plaintiff’s claims.
                    3. those defenses include, among others, raising the
                affirmative defenses of qualified immunity, State Agent
                Immunity and Peace Officer Immunity under State law
                whenever appropriate, and further present the probability
                that denial of any one individual defendant’s motion for
                invoking any of these defenses presents the distinct
                possibility that an immediate interlocutory appeal might
                be taken, which would thereby effect a stay of all
                proceedings pending an appellate ruling, which stay would
                further delay a consolidated action for an indeterminate
                amount of time while the appeal is pending.
                    4. the individual defendants also recognize the
                potential benefits of a consolidation of cases if there is a
                single cohesive discovery plan and process whereby the
                individual defendants only have to respond to one agreed-
                upon series of discovery requests and be required to sit for
                only one agreed-upon deposition. Should such a cohesive
                discovery plan be approved by the Court, execution of
                same would result in a wealth of savings of time, effort,
                costs and expense to all the parties.
                    5. the individual defendants also recognize the
                potential benefit of a consolidation of cases should the
                Court order the consolidated matter to a Mediation or other
                Alternative Dispute Resolution procedure as permitted
                under this District’s ADR Plan.
                    6. the individual defendants also recognize a
                consolidation of cases may likewise limit potential
                exposure to multiple claims of attorney fee awards under
                42 USC § 1988, should a jury render a verdict in favor of
                plaintiffs.
                    7. the individual defendants also reserve the right to
                amend and supplement this position on consolidation.


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December 21, 2022                     Respectfully submitted,

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(All additional counsel, as signatories by permission, listed below.)




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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 21, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record in:

      Coleman et al. v. Town of Brookside et al., 2: 22-cv-423-AMM

      Thomas et al. v. Town of Brookside et al., 2:22-cv-157-AMM

      Wattson et al. v. Town of Brookside, 2:21-cv-649-AMM

      Harris v. Town of Brookside et al., 2:21-cv-1341-AMM

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